           Case 1:15-vv-01450-UNJ Document 31 Filed 04/07/17 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 15-1450V
                                      Filed: May 4, 2016
                                        UNPUBLISHED
*********************************
JAMIE EDWARDSON,                                  *
                                                  *
                         Petitioner,              *
                v.                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Andrew Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for petitioner.
Camille Collett, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

        On December 1, 2015, Jamie Edwardson (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act” or “Program”). Petitioner alleges that she
suffered “a severe injury to her shoulder injury after receiving an influenza vaccination
on October 13, 2014.” Petition at 1. On April 19, 2016, the undersigned issued a
decision awarding compensation to petitioner based on respondent’s proffer to which
petitioner agreed. ECF No. 20.

      On April 20, 2016, petitioner filed a motion for attorneys’ fees and costs. ECF
No. 22. Petitioner requests attorneys’ fees in the amount of $6,010.00 and attorneys’
1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:15-vv-01450-UNJ Document 31 Filed 04/07/17 Page 2 of 2



costs in the amount of $659.94 for a total amount of $6,669.94. Id. In accordance with
General Order #9, petitioner’s counsel represents that petitioner incurred no out-of-
pocket expenses. Id.

       On April 20, 2016, respondent filed a response indicating she “does not object to
the overall amount sought, as it is not an unreasonable amount to have been incurred
for proceedings in this case to date.” (ECF No. 23). Respondent further indicates,
however, that her “lack of objection to the amount sought in this case should not be
construed as admission, concession, or waiver as to the hourly rates requested, the
number of hours billed, or the other litigation related costs.” Id.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s application for attorneys’ fees
and costs.

       Accordingly, the undersigned awards the total of $6,669.943 as a lump sum
in the form of a check jointly payable to petitioner and petitioner’s counsel
Andrew Downing.

        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.


                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
